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IN THE UNITED STATES DISTRICT COURT F l L D By
FOR THE WESTERN DlSTRICT OF TENNESSEE oz
EASTERN DIVlSION

JuL 1 3 2005

TncL>JmaS\s M. Goula, clark

JIMMIE HILL and BARBARA HILL, ) w. b. bi"v‘§'f,"amn
)
Plainrirfs, )
)

VS. ) NO. 1_04-1151_T_An

)
JAMES BoWLES, CHIEF oF PoLICE )
oF GIBSON, TENNESSEE, er al., )
)
Defendants. )

 

ORDER OF CONTINUANCE

 

The trial date for this case Was Set for August l, 2005. However, because there are
motions currently pending before the court that Wil] not be resolved by the date Set for trial,
the court ORDERS that the trial be continued until December 19, 2005.

lT lS SO ORDERED.

Q»CMMA.M

JA gas r). Tth)
TED STATES DISTRICT JUDGE

This document entered on the docket sh et in compliance
with nme 55 and/or 79 (a} FncP on _'7_?_13_'[_05_

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 27 in
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Honorable .l ames Todd
US DISTRICT COURT

